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                     IN THE MISSOURI CIRCUIT COURT
                   FOR THE ELEVENTH JUDICIAL CIRCUIT
                         COUNTY OF ST. CHARLES

 SWINTER GROUP, INC.,                          )
                                               )
      Plaintiff,                               )
                                               )
 v.                                            )
                                               )
 SERVICE OF PROCESS AGENTS,                    )
 INC.,                                         )
                                               )
      Serve:                                   )
      Henry E. Seaton, Reg. Agent              )
      Seaton & Husk, LP                        )
      2240 Gallow Road                         )
      Vienna, VA 22182                         )
                                               )
        or                                     )
      Henry E. Seaton, Reg. Agent              )
      8205 Hillcrest Road                      )    JURY TRIAL DEMANDED
      Annandale, VA 22003                      )
                                               )
 DOUGLAS SCOTT KAISER,                         )
                                               )
      Serve:                                   )
      c/o Seaton & Husk, LP                    )
      2240 Gallows Road                        )
      Vienna, VA 22182                         )
                                               )
         or                                    )
      14509 Swissair Place                     )
      Chantilly, VA 20151                      )
                                               )
  and                                          )
                                               )
  JOHN DOES 1-10,                              )
                                               )
      Defendants.                              )

                    CLASS ACTION JUNK-FAX PETITION

        Plaintiff Swinter Group, Inc., brings this junk-fax class action, on behalf of

 itself and all others similarly situated, against Defendants Service of Process
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 Agents, Inc., Douglas Scott Kaiser, and John Does 1-10 under the Telephone

 Consumer Protection Act of 1991, as amended by the Junk Fax Prevention Act of

 2005, 47 U.S.C. § 227, and the regulations promulgated thereunder (TCPA).

                   PARTIES, JURISDICTION, AND VENUE

          1.   Plaintiff Swinter Group, Inc. (Swinter) is a Missouri corporation in

 good standing with the Missouri Secretary of State.

          2.   Defendant Service of Process Agents, Inc. (SPA) was incorporated

 in Tennessee and remains in good standing in Tennessee.

          3.   The principal place of business of SPA is in Virginia.

          4.   SPA is not registered with the Virginia Secretary of State.

          5.   SPA is not registered with the Missouri Secretary of State to

 transact business in Missouri.

          6.   SPA does not have a certificate of authority issued by the Missouri

 Secretary of State.

          7.   Neither “SPA,” “Service of Process Agents,” nor “Service of Process

 Agents, Inc.,” is registered as a fictitious name with the Missouri Secretary of

 State.

          8.   Defendants John Does 1-10 are not presently known.

          9.   Missouri Revised Statutes § 351.574.4 states, in part, that “[e]very

 foreign corporation now doing business in or which may hereafter do business in

 this state without a certificate of authority shall be subject to a fine of not less

 than one thousand dollars to be recovered before any court of competent


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 jurisdiction.”

        10.       Missouri Revised Statutes § 417.20 states “[t]hat every name under

 which any person shall do or transact any business in this state, other than the

 true name of such person, is hereby declared to be a fictitious name, and it shall

 be unlawful for any person to engage in or transact any business in this state

 under a fictitious name without first registering same with the secretary of state

 as herein required.”

        11.       This Court has personal jurisdiction over Defendants under 47

 U.S.C. § 227(b)(3), because Defendants sent at least one illegal fax into Missouri,

 Defendants transact business within this state, Defendants have made contracts

 within this state, Defendants have committed tortious acts within this state,

 including conversion of fax recipients’ paper, ink, and toner, or Defendants

 otherwise have sufficient minimum contacts with this state.

        12.       Venue is proper under Missouri Revised Statutes § 508.010.2.

                                        THE FAX

        13.       On or about August 31, 2015, Defendants, or someone acting on

 their behalf, used a telephone facsimile machine, computer, or other device to

 send to Plaintiff’s telephone facsimile machine at (314) 678-0116 an unsolicited

 advertisement, a true and accurate copy of which is attached as Exhibit 1 (Fax).

        14.       Plaintiff received the Fax through Plaintiff’s facsimile machine.

        15.       The Fax constitutes material advertising quality or commercial

 availability of any property, goods, or services.

        16.       The Fax advertised a service offered by SPA.

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        17.    The bottom of the Fax contains no opt-out notice whatsoever.

        18.    A true copy of SPA’s home page, www.processagents.net (which

 transfers automatically from www.BOC3NOW.com) (last visited Aug. 8, 2017), is

 attached as Exhibit 2.

        19.    The Fax constitutes material advertising the quality or commercial

 availability of any property, goods, or services.

        20.    On information and belief, Defendants have sent other facsimile

 transmissions of material advertising the quality or commercial availability of

 property, goods, or services to Plaintiff and to at least 40 other persons as part of

 a plan to broadcast fax advertisements, of which the Fax is an example, or,

 alternatively, the Fax was sent on Defendants’ behalf.

        21.    On information and belief, Defendants approved, authorized and

 participated in the scheme to broadcast fax advertisements by (a) directing a list

 to be purchased or assembled, (b) directing and supervising employees or third

 parties to send the faxes, (c) creating and approving the fax form to be sent, and

 (d) determining the number and frequency of the facsimile transmissions.

        22.    Defendants had a high degree of involvement in, actual notice of, or

 ratified the unlawful fax broadcasting activity and failed to take steps to prevent

 such facsimile transmissions.

        23.    Defendants created, made, or ratified the sending of the Fax and

 other similar or identical facsimile advertisements to Plaintiff and to other

 members of the “Class” as defined below.



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       24.    The Fax to Plaintiff and, on information and belief, the similar

 facsimile advertisements sent by Defendants, lacked a proper notice informing

 the recipient of the ability and means to avoid future unsolicited advertisements.

       25.    Under the TCPA and 47 C.F.R. § 64.1200(a)(4)(iii), the opt-out

 notice for unsolicited faxed advertisements must meet the following criteria:

       (A)    The notice is clear and conspicuous and on the first page of
              the advertisement;

       (B)    The notice states that the recipient may make a request to
              the sender of the advertisement not to send any future
              advertisements to a telephone facsimile machine or
              machines and that failure to comply, within 30 days, with
              such a request meeting the requirements under paragraph
              (a)(4)(v) of this section is unlawful;

       (C)    The notice sets forth the requirements for an opt-out request
              under paragraph (a)(4)(v) of this section

       (D)    The notice includes—

              (1)    A domestic contact telephone number and facsimile
                     machine number for the recipient to transmit such a
                     request to the sender; and
              (2)    If neither the required telephone number nor
                     facsimile machine number is a toll-free number, a
                     separate cost-free mechanism including a Web site
                     address or e-mail address, for a recipient to transmit a
                     request pursuant to such notice to the sender of the
                     advertisement. A local telephone number also shall
                     constitute a cost-free mechanism so long as recipients
                     are local and will not incur any long distance or other
                     separate charges for calls made to such number; and

       (E)    The telephone and facsimile numbers and cost-free
              mechanism identified in the notice must permit an
              individual or business to make an opt-out request 24 hours a
              day, 7 days a week.

       26.    The Fax and Defendants’ similar facsimile advertisements lacked a

 notice stating that the recipient may make a request to the sender of the

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 advertisement not to send future advertisements to a telephone facsimile

 machine or machines and that failure to comply, within 30 days, with such a

 request meeting 47 C.F.R. § 64.1200(a)(4)(v)’s requirements is unlawful.

        27.    The transmissions of facsimile advertisements, including the Fax,

 to Plaintiff, lacked a notice that complied with 47 U.S.C. § 227(b)(1)(C) and 47

 C.F.R. § 64.1200(a)(4)(iii).

        28.    On information and belief, Defendants faxed the same or other

 substantially similar facsimile advertisements to the members of the Class in

 Missouri and throughout the United States without first obtaining the recipients’

 prior express invitation or permission.

        29.    Defendants violated the TCPA by transmitting the Fax to Plaintiff

 and to the Class members without obtaining their prior express invitation or

 permission and by not displaying the proper opt-out notice required by 47 C.F.R.

 § 64.1200(a)(4).

        30.    Defendants knew or should have known that (a) facsimile

 advertisements, including the Fax, were advertisements, (b) Plaintiff and the

 other Class members had not given their express invitation or permission to

 receive facsimile advertisements, (c) no established business relationship existed

 with Plaintiff and the other Class members, and (d) Defendants’ facsimile

 advertisements did not display a proper opt-out notice.

        31.    Pleading in the alternative to the allegations that Defendants

 knowingly violated the TCPA, Plaintiff alleges that Defendants did not intend to

 send transmissions of facsimile advertisements, including the Fax, to any person

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  where such transmission was not authorized by law or by the recipient, and to

  the extent that any transmissions of facsimile advertisement was sent to any

  person and such transmission was not authorized by law or by the recipient, such

  transmission was made based on Defendants’ own understanding of the law or

  on the representations of others on which Defendants reasonably relied.

        32.    The transmissions of facsimile advertisements, including the Fax,

  to Plaintiff and the Class caused concrete and personalized injury, including

  unwanted use and destruction of their property, e.g., toner or ink and paper,

  caused undesired wear on hardware, interfered with the recipients’ exclusive use

  of their property, cost them time, occupied their fax machines for the period of

  time required for the electronic transmission of the data, and interfered with

  their business or personal communications and privacy interests.




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                              CLASS ACTION ALLEGATIONS

         33.         Plaintiff brings this class action on behalf of the following class of

  persons, hereafter, the “Class”:

         All persons in the United States who on or after four years prior to
         the filing of this action, (1) were sent by or on behalf of Defendants
         a telephone facsimile message of material advertising the
         commercial availability or quality of any property, goods, or
         services, (2) with respect to whom Defendants cannot provide
         evidence of prior express invitation or permission for the sending of
         such fax or (3) with whom Defendants did not have an established
         business relationship, and (4) the fax identified in subpart (1) of
         this definition (a) did not display a clear and conspicuous opt-out
         notice on the first page stating that the recipient may make a
         request to the sender of the advertisement not to send any future
         advertisements to a telephone facsimile machine or machines and
         that failure to comply, within 30 days, with such a request meeting
         the requirements under 47 C.F.R. § 64.1200(a)(4)(v) is unlawful,
         (b) lacked a telephone number for sending the opt-out request, or
         (c) lacked a facsimile number for sending the opt-out request.


         34.         Excluded from the Class are Defendants, their employees, agents,

  and members of the judiciary.

         35.         This case is appropriate as a class action because:

         a.          Numerosity. On information and belief, based in part on review of

         the sophisticated Fax and online research, the Class includes at least 40

         persons and is so numerous that joinder of all members is impracticable.

         b.          Commonality.     Questions of fact or law common to the Class

         predominate over questions affecting only individual Class members, e.g.:

                i.        Whether Defendants engaged in a pattern of sending
                          unsolicited fax advertisements;
               ii.        Whether the Fax, and other faxes transmitted by or on behalf
                          of Defendants, contains material advertising the commercial
                          availability of any property, goods or services;

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              iii.        Whether the Fax, and other faxes transmitted by or on behalf
                          of Defendants, contains material advertising the quality of any
                          property, goods or services;
              iv.         The manner and method Defendants used to compile or obtain
                          the list of fax numbers to which Defendants sent the Fax and
                          other unsolicited faxed advertisements;
               v.         Whether Defendants faxed advertisements without first
                          obtaining the recipients’ prior express invitation or
                          permission;
              vi.         Whether Defendants violated 47 U.S.C. § 227;
             vii.         Whether Defendants willfully or knowingly violated 47 U.S.C.
                          § 227;
             viii.        Whether Defendants violated 47 C.F.R. § 64.1200;
              ix.         Whether the Fax, and the other fax advertisements sent by or
                          on behalf of Defendants, displayed the proper opt-out notice
                          required by 47 C.F.R. § 64.1200(a)(4);
               x.         Whether the Court should award statutory damages per TCPA
                          violation per fax;
              xi.         Whether the Court should award treble damages per TCPA
                          violation per fax; and
             xii.         Whether the Court should enjoin Defendants from sending
                          TCPA-violating facsimile advertisements in the future.


        c.           Typicality. Plaintiff’s claim is typical of the other Class members’

        claims, because, on information and belief, the Fax was substantially the

        same as the faxes sent by or on behalf of Defendants to the Class, and

        Plaintiff is making the same claim and seeking the same relief for itself and

        all Class members based on the same statute and regulation.

        d.           Adequacy. Plaintiff will fairly and adequately protect the interests

        of the other Class members. Plaintiff’s counsel is experienced in TCPA

        class actions, having litigated more than 80 such cases, and having been

        appointed class counsel in multiple cases. Neither Plaintiff nor its counsel

        has interests adverse or in conflict with the Class members.


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        e.     Superiority. A class action is the superior method for adjudicating

        this controversy fairly and efficiently. The interest of each individual Class

        member in controlling the prosecution of separate claims is small and

        individual actions are not economically feasible.

        36.    The TCPA prohibits the “use of any telephone facsimile machine,

  computer or other device to send an unsolicited advertisement to a telephone

  facsimile machine.” 47 U.S.C. § 227(b)(1).

        37.    The TCPA defines “unsolicited advertisement,” as “any material

  advertising the commercial availability or quality of any property, goods, or

  services which is transmitted to any person without that person’s express

  invitation or permission.” 47 U.S.C. § 227(a)(4).

        38.    The TCPA provides:

        Private right of action. A person may, if otherwise permitted by the
        laws or rules of court of a state, bring in an appropriate court of that
        state:


               (A)    An action based on a violation of this subsection or
               the regulations prescribed under this subsection to enjoin
               such violation,


               (B)    An action to recover for actual monetary loss from
               such a violation, or to receive $500 in damages for each such
               violation, whichever is greater, or


               (C)    Both such actions.


  47 U.S.C. § 227(b)(3)(A)-(C).




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         39.    The TCPA also provides that the Court, in its discretion, may treble

  the statutory damages if a defendant “willfully or knowingly” violated Section

  227(b) or the regulations prescribed thereunder.

         40.    Defendants’ actions caused concrete and particularized harm to

  Plaintiff and the Class, as

         a.     receiving Defendants’ faxed advertisements caused the recipients to

                lose paper and toner consumed in printing Defendants’ faxes;

         b.     Defendants’ actions interfered with the recipients’ use of the

                recipients’ fax machines and telephone lines;

         c.     Defendants’ faxes cost the recipients time, which was wasted time

                receiving, reviewing, and routing the unlawful faxes, and such time

                otherwise would have been spent on business activities; and

         d.     Defendants’ faxes unlawfully interrupted the recipients’ privacy

                interests in being left alone and intruded upon their seclusion.

         41.    Defendants intended to cause damage to Plaintiff and the Class, to

   violate their privacy, to interfere with the recipients’ fax machines, or to

   consume the recipients’ valuable time with Defendants’ advertisements;

   therefore, treble damages are warranted under 47 U.S.C. § 227(b)(3).

         42.    Defendants knew or should have known that (a) Plaintiff and the

   other Class members had not given express invitation or permission for

   Defendants or anyone else to fax advertisements about Defendants’ property,

   goods, or services, (b) Defendants did not have an established business

   relationship with Plaintiff and the other Class members, (c) the Fax and the

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   other facsimile advertisements were advertisements, and (d) the Fax and the

   other facsimile advertisements did not display the proper opt-out notice.

         43.   Defendants violated the TCPA by transmitting the Fax to Plaintiff

   and substantially similar facsimile advertisements to the other Class members

   without obtaining their prior express invitation or permission and by not

   displaying the proper opt-out notice required by 47 C.F.R. § 64.1200(a)(4)(iii).

         WHEREFORE, Plaintiff, for itself and all others similarly situated,

  demands judgment against Defendants, jointly and severally, as follows:

         a.    certify this action as a class action and appoint Plaintiff as Class
               representative;
         b.    appoint the undersigned counsel as Class counsel;
         c.    award damages of $500 per TCPA violation per facsimile pursuant
               to 47 U.S.C. § 227(a)(3)(B);
         d.    award treble damages up to $1,500 per TCPA violation per
               facsimile pursuant to 47 U.S.C. § 227(a)(3);
         e.    enjoin Defendants and their contractors, agents, and employees
               from continuing to send TCPA-violating facsimiles pursuant to 47
               U.S.C. § 227(a)(3)(A);
         f.    award class counsel reasonable attorneys’ fees and all expenses of
               this action and require Defendants to pay the costs and expenses of
               class notice and claim administration;
         g.    award Plaintiff an incentive award based upon its time expended
               on behalf of the Class and other relevant factors;
         h.    award Plaintiff prejudgment interest and costs; and
         i.    grant Plaintiff all other relief deemed just and proper.


                  DOCUMENT PRESERVATION DEMAND

         Plaintiff demands that Defendants take affirmative steps to preserve all

  records, lists, electronic databases, or other itemization of telephone or fax

  numbers associated with the Defendants and the communication or

  transmittal of advertisements as alleged herein.

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                                       SCHULTZ & ASSOCIATES LLP

                                           By: /s/ Mary B. Schultz
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                                               Attorneys for Plaintiff




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               IN THE 11TH JUDICIAL CIRCUIT COURT, ST. CHARLES COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 1711-CC00777
 DANIEL G PELIKAN
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 SWINTER GROUP INC                                              MARY B SCHULTZ
                                                                640 CEPI DRIVE, SUITE A
                                                         vs.    CHESTERFIELD, MO 63005-1221
 Defendant/Respondent:                                          Court Address:
 SERVICE OF PROCESS AGENTS                                      300 N 2nd STREET
 Nature of Suit:                                                SAINT CHARLES, MO 63301
 CC Injunction                                                                                                                          (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: SERVICE OF PROCESS AGENTS
                              Alias:
  R/A HENRY E. SEATON                                                                                    R/A HENRY E. SEATON
  2240 GALLOW ROAD                                                                                       8205 HILLCREST RD
  VIENNA, VA 22182                                                                                       ANNANDALE, VA 22003
     COURT SEAL OF
                                    You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached,
                                 and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above address all within 30
                                 days after service of this summons upon you, exclusive of the day of service. If you fail to file your pleading,
                                 judgment by default will be taken against you for the relief demanded in this action.
                                  _______________8/11/2017_________________________            ________________/S/ Judy Zerr__________________
                                                      Date                                                          Clerk
   ST. CHARLES COUNTY            Further Information:
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.




OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-149                     1 of 2     (1711-CC00777)                       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
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                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-149              2 of 2    (1711-CC00777)                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
            Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 16 of 47 PageID #: 19

               IN THE 11TH JUDICIAL CIRCUIT COURT, ST. CHARLES COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 1711-CC00777
 DANIEL G PELIKAN
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 SWINTER GROUP INC                                              MARY B SCHULTZ
                                                                640 CEPI DRIVE, SUITE A
                                                         vs.    CHESTERFIELD, MO 63005-1221
 Defendant/Respondent:                                          Court Address:
 SERVICE OF PROCESS AGENTS                                      300 N 2nd STREET
 Nature of Suit:                                                SAINT CHARLES, MO 63301
 CC Injunction                                                                                                                          (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: DOUGLAS SCOTT KAISER
                              Alias:
  C/O SEATON & HUSK LP                                                                                   14509 SWISSAIR PLACE
  2240 GALLOW ROAD                                                                                       CHANTILLY, VA 20151
  VIENNA, VA 22182
     COURT SEAL OF
                                    You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached,
                                 and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above address all within 30
                                 days after service of this summons upon you, exclusive of the day of service. If you fail to file your pleading,
                                 judgment by default will be taken against you for the relief demanded in this action.
                                  ____________8/11/2017____________________________            __________________/S/ Judy Zerr___________________
                                                      Date                                                         Clerk
   ST. CHARLES COUNTY            Further Information:
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.




OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-150                     1 of 2     (1711-CC00777)                       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
            Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 17 of 47 PageID #: 20
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-150              2 of 2    (1711-CC00777)                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 18 of 47 PageID #: 21



STATE OF MISSOURI                               )
                                                ) ss.
ST. CHARLES COUNTY, MISSOURI                    )

             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI



            NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES


        Pursuant to Missouri Supreme Court Rule 17, the Circuit Court of St. Charles County,
Missouri (Eleventh Judicial Circuit) has adopted a local rule to encourage voluntary alternative
dispute resolution. The purpose of the rule and the program it establishes is to foster timely,
economical, fair and voluntary settlements of lawsuits without delaying or interfering with a
party’s right to resolve a lawsuit by trial.

         This program applies to all civil actions other than cases in the small claims, probate and
family court divisions of the Circuit Court, and you are hereby notified that it is available to you
in this case.

        The program encourages the voluntary early resolution of disputes through mediation.
Mediation is an informal non-binding alternative dispute resolution process in which a trained
mediator facilitates discussions and negotiations among the parties to help them resolve their
dispute. The mediator is impartial and has no authority to render a decision or impose a
resolution on the parties. During the course of the mediation, the mediator may meet with the
parties together and separately to discuss the dispute, to explore the parties’ interests, and to
stimulate ideas for resolution of the dispute.

        A list of mediators approved by the court and information regarding their qualifications is
kept by the Circuit Clerk’s Office. If all parties to the suit agree to mediation, within ten days
after they have filed the Consent to Mediation Form on the reverse side of this page with the
Clerk of the Court, they shall jointly select from that list a mediator who is willing and available
to serve. If the parties cannot agree upon the mediator to be selected, the Court will make the
selection.

        The full text of the Circuit Court’s local court rules, including Rule 38 Alternative
Dispute Resolution, is available from the Clerk of the Circuit Court or at:
http://www.courts.mo.gov/hosted/circuit11/Documents/LOCAL_COURT_RULES.pdf

        A copy of this Notice is to be provided by the Clerk of the Circuit Court to each of the
parties initiating the suit at the time it is filed, and a copy is to be served on each other party in
the suit with the summons and petition served on that party.
Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 19 of 47 PageID #: 22



STATE OF MISSOURI                             )
                                              ) ss.
ST. CHARLES COUNTY, MISSOURI                  )

             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI

___________________________________ )
                        Plaintiff(s), )
                                      )
vs.                                   )                      Cause #_____________________
                                      )
___________________________________ )
                        Defendant(s). )


                             CONSENT TO MEDIATION FORM


         I, the undersigned counsel of record in this case, hereby certify that I have discussed the
subject of mediation under the Court’s Alternative Dispute Resolution Program with my client(s)
in this case and that:

_____ We believe that mediation would be helpful in this case and consent to the referral of the
      case to mediation upon the filing of similar consents by all other parties in the case.

_____ We do not consent to the referral of this case to mediation.


                                                      __________________________________
                                                      Signature

                                                      __________________________________
                                                      (Print Name)

                                                      Attorney for:

                                                      __________________________________
                                                      (Party or Parties)

Date: __________________________
                                                                                       Electronically Filed - St Charles Circuit Div - August 13, 2017 - 09:10 PM
Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 20 of 47 PageID #: 23



                    IN THE MISSOURI CIRCUIT COURT
                  FOR THE ELEVENTH JUDICIAL CIRCUIT
                        COUNTY OF ST. CHARLES

  SWINTER GROUP, INC.,                          )
                                                )
        Plaintiff,                              )
  v.                                            )   1711-CC00777
                                                )
  SERVICE OF PROCESS AGENTS,                    )   Div. 7
  INC.,, et al.,                                )
                                                )
        Defendants.                             )

       PLAINTIFF’S MOTION FOR EXTENSION TO TIME TO SERVE
                                 DEFENDANTS
        Plaintiff, pursuant to Missouri Supreme Court Rule 54.21, requests that

  the deadline for service of the summonses and petition on Defendants be

  extended to 90 days from issuance of the summonses on August 11, 2017, in order

  to allow sufficient time to obtain service. Defendants reside outside of Missouri.

        Plaintiff is mailing Civil Procedure Form 4B Notices, in accordance with

  Missouri Supreme Court Rule 54.16, requesting that Defendants voluntarily

  acknowledge service by mail.      Rule 54.16 grants the recipients 30 days to

  complete and return the Form 4B notice. Rule 54.16 states that “[u]nless good

  cause is shown for not doing so, the court shall order the payment of

  costs of service on the person served if such person does not complete

  and return within thirty days after mailing, the notice and

  acknowledgment of receipt of summons.”

        The new service deadline would be November 9, 2017.

        SO ORDERED THIS ___ DAY OF AUGUST, 2017

        ___________________________
        Daniel Pelikan, Circuit Judge


                                           1
                                                                                     Electronically Filed - St Charles Circuit Div - August 13, 2017 - 09:10 PM
Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 21 of 47 PageID #: 24



                                       SCHULTZ & ASSOCIATES LLP

                                       By: /s/ Ronald J. Eisenberg
                                         Mary B. Schultz, #35285
                                         Ronald J. Eisenberg, #48674
                                         640 Cepi Drive, Suite A
                                         Chesterfield, MO 63005
                                         636-537-4645
                                         Fax: 636-537-2599
                                         reisenberg@sl-lawyers.com
                                         mschultz@sl-lawyers.com

                                          Attorneys for Plaintiff

                         CERTIFICATE OF SERVICE
        The above-signed certifies that this motion was eFiled on August 13, 2017.




                                         2
Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 22 of 47 PageID #: 25
Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 23 of 47 PageID #: 26
            Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 24 of 47 PageID #: 27

               IN THE 11TH JUDICIAL CIRCUIT COURT, ST. CHARLES COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 1711-CC00777
 DANIEL G PELIKAN
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 SWINTER GROUP INC                                              MARY B SCHULTZ
                                                                640 CEPI DRIVE, SUITE A
                                                         vs.    CHESTERFIELD, MO 63005-1221
 Defendant/Respondent:                                          Court Address:
 SERVICE OF PROCESS AGENTS                                      300 N 2nd STREET
 Nature of Suit:                                                SAINT CHARLES, MO 63301
 CC Injunction                                                                                                                          (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: SERVICE OF PROCESS AGENTS
                              Alias:
  R/A HENRY E. SEATON                                                                                    R/A HENRY E. SEATON
  2240 GALLOW ROAD                                                                                       8205 HILLCREST RD
  VIENNA, VA 22182                                                                                       ANNANDALE, VA 22003
     COURT SEAL OF
                                    You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached,
                                 and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above address all within 30
                                 days after service of this summons upon you, exclusive of the day of service. If you fail to file your pleading,
                                 judgment by default will be taken against you for the relief demanded in this action.
                                                    October 24, 2017                                           /S/JUDY ZERR
                                                        Date                                                         Clerk
   ST. CHARLES COUNTY            Further Information:
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.




OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-180                     1 of 2     (1711-CC00777)                       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
            Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 25 of 47 PageID #: 28
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-180              2 of 2    (1711-CC00777)                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
            Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 26 of 47 PageID #: 29

               IN THE 11TH JUDICIAL CIRCUIT COURT, ST. CHARLES COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 1711-CC00777
 DANIEL G PELIKAN
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 SWINTER GROUP INC                                              MARY B SCHULTZ
                                                                640 CEPI DRIVE, SUITE A
                                                         vs.    CHESTERFIELD, MO 63005-1221
 Defendant/Respondent:                                          Court Address:
 SERVICE OF PROCESS AGENTS                                      300 N 2nd STREET
 Nature of Suit:                                                SAINT CHARLES, MO 63301
 CC Injunction                                                                                                                          (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: DOUGLAS SCOTT KAISER
                              Alias:
  C/O SEATON & HUSK LP                                                                                   14509 SWISSAIR PLACE
  2240 GALLOW ROAD                                                                                       CHANTILLY, VA 20151
  VIENNA, VA 22182
     COURT SEAL OF
                                    You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached,
                                 and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above address all within 30
                                 days after service of this summons upon you, exclusive of the day of service. If you fail to file your pleading,
                                 judgment by default will be taken against you for the relief demanded in this action.
                                                  October 24, 2017                                              /S/JUDY ZERR
                                                        Date                                                         Clerk
   ST. CHARLES COUNTY            Further Information:
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.




OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-181                     1 of 2     (1711-CC00777)                       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
            Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 27 of 47 PageID #: 30
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-181              2 of 2    (1711-CC00777)                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
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STATE OF MISSOURI                               )
                                                ) ss.
ST. CHARLES COUNTY, MISSOURI                    )

             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI



            NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES


        Pursuant to Missouri Supreme Court Rule 17, the Circuit Court of St. Charles County,
Missouri (Eleventh Judicial Circuit) has adopted a local rule to encourage voluntary alternative
dispute resolution. The purpose of the rule and the program it establishes is to foster timely,
economical, fair and voluntary settlements of lawsuits without delaying or interfering with a
party’s right to resolve a lawsuit by trial.

         This program applies to all civil actions other than cases in the small claims, probate and
family court divisions of the Circuit Court, and you are hereby notified that it is available to you
in this case.

        The program encourages the voluntary early resolution of disputes through mediation.
Mediation is an informal non-binding alternative dispute resolution process in which a trained
mediator facilitates discussions and negotiations among the parties to help them resolve their
dispute. The mediator is impartial and has no authority to render a decision or impose a
resolution on the parties. During the course of the mediation, the mediator may meet with the
parties together and separately to discuss the dispute, to explore the parties’ interests, and to
stimulate ideas for resolution of the dispute.

        A list of mediators approved by the court and information regarding their qualifications is
kept by the Circuit Clerk’s Office. If all parties to the suit agree to mediation, within ten days
after they have filed the Consent to Mediation Form on the reverse side of this page with the
Clerk of the Court, they shall jointly select from that list a mediator who is willing and available
to serve. If the parties cannot agree upon the mediator to be selected, the Court will make the
selection.

        The full text of the Circuit Court’s local court rules, including Rule 38 Alternative
Dispute Resolution, is available from the Clerk of the Circuit Court or at:
http://www.courts.mo.gov/hosted/circuit11/Documents/LOCAL_COURT_RULES.pdf

        A copy of this Notice is to be provided by the Clerk of the Circuit Court to each of the
parties initiating the suit at the time it is filed, and a copy is to be served on each other party in
the suit with the summons and petition served on that party.
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STATE OF MISSOURI                             )
                                              ) ss.
ST. CHARLES COUNTY, MISSOURI                  )

             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI

___________________________________ )
                        Plaintiff(s), )
                                      )
vs.                                   )                      Cause #_____________________
                                      )
___________________________________ )
                        Defendant(s). )


                             CONSENT TO MEDIATION FORM


         I, the undersigned counsel of record in this case, hereby certify that I have discussed the
subject of mediation under the Court’s Alternative Dispute Resolution Program with my client(s)
in this case and that:

_____ We believe that mediation would be helpful in this case and consent to the referral of the
      case to mediation upon the filing of similar consents by all other parties in the case.

_____ We do not consent to the referral of this case to mediation.


                                                      __________________________________
                                                      Signature

                                                      __________________________________
                                                      (Print Name)

                                                      Attorney for:

                                                      __________________________________
                                                      (Party or Parties)

Date: __________________________
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                                                                                               Electronically Filed - St Charles Circuit Div - November 01, 2017 - 11:35 AM
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                     IN THE MISSOURI CIRCUIT COURT
                   FOR THE ELEVENTH JUDICIAL CIRCUIT
                         COUNTY OF ST. CHARLES

  SWINTER GROUP, INC.,                             )
                                                   )
         Plaintiff,                                )
  v.                                               )   1711-CC00777
                                                   )
  SERVICE OF PROCESS AGENTS,                       )   Div. 7
  INC., et al.,                                    )
                                                   )
         Defendants.                               )

           PLAINTIFF’S MOTION FOR COSTS OF SERVICE AS TO
       DEFENDANTS SERVICE OF PROCESS AGENTS, INC., AND KAISER

         Plaintiff, pursuant to Missouri Supreme Court Rule 54.16, moves for an order

  requiring Defendants Service of Process Agents, Inc., and Douglas Scott Kaiser to pay

  for the costs of service paid to the special process server due to Defendants’ failure and

  refusal to complete and return within thirty days after mailing, the notices and

  acknowledgment of receipt of summonses Plaintiff had sent.

         Plaintiff separately mailed Defendants a Civil Procedure Form 4B Notice on

  August 14, 2017, in accordance with Missouri Supreme Court Rule 54.16, requesting that

  Defendants voluntarily acknowledge service by mail. Rule 54.16 grants the recipients 30

  days to complete and return the Form 4B Notice. Rule 54.16 states that “[u]nless good

  cause is shown for not doing so, the court shall order the payment of costs of service

  on the person served if such person does not complete and return within thirty days

  after mailing, the notice and acknowledgment of receipt of summons.”

         After Defendants failed to complete and return the Form 4B Notices, Plaintiff

  paid a special process server $98.80 to serve Defendants. The special process server




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  served Defendants at the same address to which Plaintiff had mailed the Form 4B

  Notices.

         The Form 4B Notices and $98.80 receipt for the process server are attached.

         WHEREFORE, Plaintiff requests (1) that this motion be granted, (2) that

  Defendants Service of Process Agents, Inc., and Douglas Scott Kaiser be required to pay

  Plaintiff $98.80 within 10 days, by cash or a check payable to Plaintiff’s undersigned

  counsel and sent to counsel’s address below, and (3) that Defendants be warned that

  failure to comply may result in further orders.

         SO ORDERED THIS ___ DAY OF NOVEMBER, 2017

         ____________________________________
         Honorable Daniel G. Pelikan, Circuit Judge

                                                SCHULTZ & ASSOCIATES LLP


                                                By: /s/ Ronald J. Eisenberg
                                                       Mary B. Schultz, #38245
                                                       Ronald J. Eisenberg, #48674
                                                       640 Cepi Drive, Suite A
                                                       Chesterfield, MO 63005
                                                       636-537-4645
                                                       Fax: 636-537-2599
                                                       reisenberg@sl-lawyers.com
                                                       mschultz@sl-lawyers.com

                                                          Attorneys for Plaintiff

                              CERTIFICATE OF SERVICE
          The above-signed certifies that this motion was eFiled on November 1, 2017, and
  also served by U.S. Mail to Defendants at

  Service of Process Agents, Inc.                   Douglas Scott Kaiser
  Henry E. Seaton, Reg. Agent                       Seaton & Husk, LP
  c/o Seaton & Husk, LP                             2240 Gallows Road
  2240 Gallow Road                                  Vienna, VA 22182
  Vienna, VA 22182



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Ron Eisenberg

From:                                Auto-Receipt <noreply@mail.authorize.net>
Sent:                                Thursday, October 26, 2017 10:16 AM
To:                                  Mary Schultz
Subject:                             Transaction Receipt from ALIASS for $98.80 (USD)



Order Information
Description: 98.80, Schultz & Associates LLP, Mary Schultz,

Billing Information                  Shipping Information
Mary Schultz                         Mary Schultz
Schultz & Associates LLP             Schultz & Associates LLP
640 Cepi Drive                       640 Cepi Drive
Chesterfiled, MO 63005               Chesterfiled, MO 63005
USA                                  USA
Jkeith@sl-lawyers.com
(636)537-4645
Fax: (636)537-2599

                                                         Total: $98.80 (USD)

Payment Information
Date/Time:          26-Oct-2017 11:15:42 EDT
Transaction ID:     40385028947
Payment Method:     Visa xxxx6466
Transaction Type: Purchase
Auth Code:          520743

Merchant Contact Information
ALIASS
FAIRFAX, VA 22030
US
aliass@american-legal.com
THANK YOU FOR USING ALIASS! WE APPRECIATE YOUR BUSINESS.




                                                                1
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                                                                                  Electronically Filed - St Charles Circuit Div - November 01, 2017 - 11:35 AM
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                                                                                            Electronically Filed - St Charles Circuit Div - November 01, 2017 - 11:35 AM
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                         IN THE MISSOURI CIRCUIT COURT
                       FOR THE ELEVENTH JUDICIAL CIRCUIT
                             COUNTY OF ST. CHARLES

  SWINTER GROUP, INC.,                              )
                                                    )
         Plaintiff,                                 )
  v.                                                )    1711-CC00777
                                                    )
  SERVICE OF PROCESS AGENTS,                        )    Div. 7
  INC., et al.,                                     )
                                                    )
         Defendants.                                )

   NOTICE OF HEARING ON PLAINTIFF’S MOTION FOR COSTS OF SERVICE
         Plaintiff will call for hearing Plaintiff’s Motion for Costs of Service as to

  Defendants Service of Process Agents, Inc., and Kaiser in Division 7 on November 17,

  2017, at 9:00 a.m.

                                              SCHULTZ & ASSOCIATES LLP

                                              By: /s/ Ronald J. Eisenberg
                                                     Mary B. Schultz, #38245
                                                     Ronald J. Eisenberg, #48674
                                                     640 Cepi Drive, Suite A
                                                     Chesterfield, MO 63005
                                                     636-537-4645
                                                     Fax: 636-537-2599
                                                     reisenberg@sl-lawyers.com
                                                     mschultz@sl-lawyers.com

                                                        Attorneys for Plaintiff

                              CERTIFICATE OF SERVICE
          The above-signed certifies that this notice was eFiled on November 1, 2017, and
  also served by U.S. Mail to Defendants at

  Service of Process Agents, Inc.                Douglas Scott Kaiser
  Henry E. Seaton, Reg. Agent                    Seaton & Husk, LP
  c/o Seaton & Husk, LP                          2240 Gallows Road
  2240 Gallow Road                               Vienna, VA 22182
  Vienna, VA 22182



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Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 39 of 47 PageID #: 42
                                                                                  Electronically Filed - St Charles Circuit Div - November 01, 2017 - 10:27 AM
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                                                                                  Electronically Filed - St Charles Circuit Div - November 01, 2017 - 10:26 AM
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Case: 4:17-cv-02759-RLW Doc. #: 1-1 Filed: 11/22/17 Page: 46 of 47 PageID #: 49
                                                                                        Electronically Filed - St Charles Circuit Div - November 21, 2017 - 12:55 PM
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                    IN THE MISSOURI CIRCUIT COURT
                  FOR THE ELEVENTH JUDICIAL CIRCUIT
                        COUNTY OF ST. CHARLES

  SWINTER GROUP, INC.,                            )
                                                  )
        Plaintiff,                                )
  v.                                              )    1711-CC00777
                                                  )
  SERVICE OF PROCESS AGENTS,                      )    Div. 7
  INC., et al.,                                   )
                                                  )
        Defendants.                               )

                           CERTIFICATE OF SERVICE
        Plaintiff certifies through the undersigned that (a) the November 17, 2017
  Order granting Plaintiff’s Motion for Costs of Service as to Defendants Service of
  Process Agents, Inc., and Kaiser and (b) this Certificate of Service were served by
  U.S. Mail, and item (b) was also eFiled, all on November 21, 2017 (the day on
  which the Order was uploaded to Casenet), with the mailings addressed to:


  Service of Process Agents, Inc.              Douglas Scott Kaiser
  Henry E. Seaton, Reg. Agent                  Seaton & Husk, LP
  c/o Seaton & Husk, LP                        2240 Gallows Road
  2240 Gallow Road                             Vienna, VA 22182
  Vienna, VA 22182


                                           SCHULTZ & ASSOCIATES LLP

                                           By: /s/ Ronald J. Eisenberg
                                                 Mary B. Schultz, #38245
                                                 Ronald J. Eisenberg, #48674
                                                 640 Cepi Drive, Suite A
                                                 Chesterfield, MO 63005
                                                 636-537-4645
                                                 Fax: 636-537-2599
                                                 reisenberg@sl-lawyers.com
                                                 mschultz@sl-lawyers.com

                                                      Attorneys for Plaintiff




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